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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


REPUBLICAN NATIONAL COMMITTEE,

                       Plaintiff,                             Case No. 1:22-cv-00659-TJK
        v.

NANCY PELOSI, et al.,

                       Defendants.



               DECLARATION OF TODD B. TATELMAN IN SUPPORT OF
             CONGRESSIONAL DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                    MOTION FOR PRELIMINARY INJUNCTION

I, Todd B. Tatelman, declare as follows:
        1.      I am the Principal Deputy General Counsel, of the U.S. House of Representatives
and counsel for the Congressional Defendants in this action.
        2.      I make this declaration in support of the Congressional Defendants’ Opposition to
Plaintiff’s Motion for Preliminary Injunction.
        3.      Attached hereto as Exhibit 1 is a true and accurate copy of a letter sent from
Chairman Bennie G. Thompson of the House Select Committee to Investigate the January 6th
Attack on the U.S. Capitol, to the Custodian of Records for Salesforce.com, Inc. on March 21,
2022.
        I declare under penalty of perjury that the foregoing is true and correct, to the best of my
knowledge.


        Executed on March 23, 2022, in Severn, Maryland.


                                              /s/ Todd B. Tatelman
                                              Todd B. Tatelman
